                   SIXTH DISTRICT COURT OF APPEAL
                          STATE OF FLORIDA
                         _____________________________

                             Case No. 6D2023-2467
                       Lower Tribunal No. CF16-000672-XX
                        _____________________________

                                LOUIS WILLOUGHBY,

                                      Appellant,

                                          v.

                                 STATE OF FLORIDA,

                                      Appellee.
                         _____________________________

Appeal pursuant to Fla. R. App. P. 9.141(b)(2) from the Circuit Court for Polk County.
                              Sharon M. Franklin, Judge.

                                  August 27, 2024

 PER CURIAM.

        AFFIRMED.

 TRAVER, C.J., and NARDELLA and MIZE, JJ., concur.


 Louis Willoughby, Madison, pro se.

 Ashley Moody, Attorney General, Tallahassee, and Cerese Crawford Taylor,
 Assistant Attorney General, Tampa, for Appellee.


   NOT FINAL UNTIL TIME EXPIRES TO FILE MOTION FOR REHEARING
            AND DISPOSITION THEREOF IF TIMELY FILED
